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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


 In re                                                       Chapter 11

 PARAGON OFFSHORE PLC,                                       Bankr. Case No. 16-10386 (CSS)

                      Debtor.



 PARAGON LITIGATION TRUST,

                      Plaintiff,

         v.

 NOBLE       CORPORATION    PLC,   NOBLE                     Adv. Proc. No. 17-51882 (CSS)
 CORPORATION HOLDINGS LTD, NOBLE
 CORPORATION,         NOBLE      HOLDING
 INTERNATIONAL (LUXEMBOURG) S.à r.l.,
 NOBLE        HOLDING      INTERNATIONAL
 (LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
 HOLDINGS      LIMITED,  NOBLE   HOLDING
 INTERNATIONAL LIMITED, NOBLE HOLDING
 (U.S.) LLC, NOBLE INTERNATIONAL FINANCE
 COMPANY, MICHAEL A. CAWLEY, JULIE H.
 EDWARDS, GORDON T. HALL, JON A.
 MARSHALL, JAMES A. MACLENNAN, MARY P.
 RICCIARDELLO, JULIE J. ROBERTSON, and
 DAVID WILLIAMS,

                      Defendants.




                                     FINAL JUDGMENT

              Upon consideration of the parties’ settlement of the claims of the Paragon Litigation

Trust (the “Trust”) in this lawsuit, it is ORDERED that Counts I – VIII of the First Amended
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Complaint are dismissed with prejudice. The Trust and the Defendants shall bear their own

attorneys’ fees and costs.




        Dated: March 22nd, 2021                CHRISTOPHER S. SONTCHI
        Wilmington, Delaware                   UNITED STATES BANKRUPTCY JUDGE
